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 4
     Attorney for Defendant,
 5   BRENT HOLLOWAY

 6
                                  IN THE UNITED STATE DISTRICT COURT,
 7
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

10   UNITED STATES OF AMERICA,                            )   Case No. CR-08-00224-OWW
                                                          )
11
                     Plaintiff,                           )   STIPULATION AND ORDER
12          vs.                                           )   CONTINUING SENTENCING
                                                          )   DATE FOR DEFENDANT BRENT
13   BRENT HOLLOWAY, et. al.,                             )   HOLLOWAY FROM SEPTEMBER
                                                          )   13, 2010, TO SEPTEMBER 20, 2010,
14                   Defendants.                          )   AT 1:30 P.M.
15                                                        )
                                                          )   Date: September 20, 2010
16                                                        )   Time: 1:30pm
                                                          )   Place: Honorable Oliver W. Wanger
17

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21
            It is hereby stipulated by and between the parties that the September 13, 2010, sentencing
22
     date for defendant Brent Holloway may be continued until September 20, 2010 at 1:30 P.M.
23
            The continuance is required due to a conflict in defense counsel’s schedule. Counsel has a
24
     September 13, 2010, 1:30 P.M. motions hearing in U.S. v. Cerna, et al., N.D. California, Criminal
25
     No. CR-08-0730-WHA, a multi-defendant RICO prosecution in which six defendants, including
26
     counsel’s client, face a potential death penalty.
27
     //
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 2                            Counsel has consulted the U.S. Probation Officer about the proposed continuance and she
 3   informed counsel she has no opposition to the requested continuance.
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 5

 6   Dated: September 1, 2010                                                       __/s/ Richard B. Mazer_________________
                                                                                    RICHARD B. MAZER
 7
                                                                                    Attorney for Defendant Brent Holloway
 8

 9
     Dated: September 1, 2010                                                       __/s/ Mark E. Cullers__________________
10
                                                                                    MARK E. CULLERS
11                                                                                  Assistant U.S. Attorney

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14                                                                        ORDER:

15                            Good cause appearing and upon stipulation of the parties and no objection by U.S.
16
     Probation Officer, it is hereby ordered that the date for sentencing of defendant Brent Holloway is
17
     continued until September 20, 2010, at 1:30 p.m.
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20   IT IS SO ORDERED.

21
                           Dated:   September 2, 2010                                      /s/ Oliver W. Wanger
22   DEAC_Signature-END:
                                                                                 UNITED STATES DISTRICT JUDGE

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